234 F.3d 1130 (11th Cir. 2000)
    ROBERT C. TOUCHSTON,  DEBORAH SHEPPERD, et al., Plaintiffs-Appellants,v.MICHAEL MCDERMOTT, in his official capacity  as a member of the County Canvassing Board  of Volusia County,  ANN MCFALL, in her official capacity  as a member of the County Canvassing Board  of Volusia County, et al., Defendants-Appellees.
    No. 00-15985D.C. Docket No. 00-01510-CV-ORL
    IN THE UNITED STATES COURT OF APPEALSFOR THE ELEVENTH CIRCUIT
    November 17, 2000
    
      Appeal from the United States District Court for the Middle District of Florida
      Order on Emergency Motion for Injunction Pending Appeal
      Before ANDERSON, Chief Judge, TJOFLAT, EDMONDSON, COX, BIRCH, DUBINA, BLACK, CARNES, BARKETT, HULL, MARCUS and WILSON, Circuit Judges.
    
    BY THE COURT:
    
      1
      On November 13, 2000, Robert C. Touchston, Diana L. Touchston and Deborah  Shepperd (hereinafter "Plaintiffs"), registered voters in Brevard County,  Florida, filed a verified complaint and a Motion for a Temporary Restraining  Order and/or Preliminary Injunction in the district court for the Middle  District of Florida. The Plaintiffs sued members of the Florida Elections  Canvassing Commission, Florida's Secretary of State, and members of the County  Canvassing Boards of Volusia, Palm Beach, Broward and Miami-Dade Counties  (hereinafter "Defendants") alleging the unconstitutionality of Florida Statute   102.166(4) (West Supp. 2000). The district court heard oral argument on the  Motion on November 14, 2000, and Plaintiffs' request for a preliminary  injunction was denied. The Plaintiffs then made an oral motion asking the  district court to issue an injunction pending appeal. This request was denied.  After the hearing concluded, on November 14, 2000, the Plaintiffs filed a notice  of appeal.
    
    
      2
      In light of the subject matter of this case and the need for expedition, the  documents in this case were lodged in this Court as they were filed in the  district court, and, pursuant to Federal Rule of Appellate Procedure 35, this  Court ordered that this case be heard initially en banc. See Hunter v. United  States, 101 F.3d 1565, 1568 (11th Cir. 1996) (en banc); Bonner v. City of  Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc).
    
    
      3
      On appeal, the Plaintiffs have filed an emergency motion for an injunction  pending appeal, asking this Court to enjoin the Defendants from conducting  manual ballot recounts and/or to enjoin the Defendants from certifying the  results of the Presidential election which contain any manual recounts. In this  order, we address only this motion. This Court has carefully considered the  Emergency Motion for Injunction Pending Appeal, as well as the other documents  filed, has conferred en banc on several occasions, and has decided that a prompt  decision on the Emergency Motion for Injunction Pending Appeal was required in  these circumstances.
    
    
      4
      For this Court to grant the extraordinary remedy of an injunction pending  appeal, the petitioners must show: (1) a substantial likelihood that they will  prevail on the merits of the appeal; (2) a substantial risk of irreparable  injury to the intervenors unless the injunction is granted; (3) no substantial  harm to other interested persons; and (4) no harm to the public interest. See In  re Federal Grand Jury Proceedings, 975 F.2d 1488, 1492 (11th Cir. 1992);  MacBride v. Askew, 541 F.2d 465 (5th Cir. 1976).
    
    
      5
      After expeditious but thorough and careful review, we conclude that the  Emergency Motion for Injunction Pending Appeal should be denied without  prejudice. Several factors lead us to this conclusion. Both the Constitution of  the United States1 and 3 U.S.C.  52 indicate that states have the primary  authority to determine the manner of appointing Presidential Electors and to  resolve most controversies concerning the appointment of Electors. The case law  is to the same effect, although, of course, federal courts may act to preserve  and decide claims of violations of the Constitution of the United States in  certain circumstances, especially where a state remedy is inadequate. In this  case, the State of Florida has enacted detailed election dispute procedures.These procedures have been invoked, and are in the process of being implemented,  both in the form of administrative actions by state officials and in the form of  actions in state courts, including the Supreme Court of Florida. It has been  represented to us that the state courts will address and resolve any necessary  federal constitutional issues presented to them, including the issues raised by  Plaintiffs in this case. See LePore, Burton and Roberts' Response to Emergency  Motion for Injunction Pending Appeal, App. A at 3 ("[T]he Plaintiffs, should  they be dissatisfied with the results of the recount in Palm Beach County, have  a state court remedy that can address any constitutional, statutory, or  equitable issue that they wish to assert"); Response of Intervenor Appellee the  Florida Democratic Party in Opposition to Appellants' Emergency Motion for  Injunction Pending Appeal at 14 ("adequate relief is plainly available to  Plaintiffs in state court"); see also Fla.Stat. 102.168(3)(e) (West Supp. 2000)  ("The grounds for contesting an election under this section are:... Any other  cause or allegation which, if sustained, would show that a person other than the  successful candidate was the person duly nominated or elected ...."). If so,  then state procedures are not in any way inadequate to preserve for ultimate  review in the United States Supreme Court any federal questions arising out of  such orders.
    
    
      6
      Based on a thorough review of events as they now stand, we cannot conclude that  Plaintiffs have demonstrated a substantial threat of an irreparable injury that  would warrant granting at this time the extraordinary remedy of an injunction  pending appeal, and thus at this time we need not address the likelihood of  success on the merits; nor do we address now the merits of the underlying  appeal. Accordingly, the Emergency Motion for Injunction Pending Appeal is
    
    
      7
      DENIED WITHOUT PREJUDICE.
    
    
      
        NOTES:
      
      
        1
        Article II, Section 1 of the Constitution provides in relevant part: Each State shall appoint, in such Manner as the Legislature thereof may direct,  a Number of Electors, equal to the whole Number of Senators and Representatives  to which the State may be entitled in the Congress ....
      
      
        2
         3 U.S.C.  5 provides:
        If any State shall have provided, by laws enacted prior to the day fixed for the  appointment of the electors, for its final determination of any controversy or  contest concerning the appointment of all or any of the electors of such State,  by judicial or other methods or procedures, and such determination shall have  been made at least six days before the time fixed for the meeting of the  electors, such determination made pursuant to such law so existing on said day,  and made at least six days prior to said time of meeting of the electors, shall  be conclusive, and shall govern in the counting of the electoral votes as  provided in the Constitution, and as hereinafter regulated, so far as the  ascertainment of the electors appointed by such State is concerned.
      
    
    